Case: 2:20-cv-02129-EAS-CMV Doc #: 45 Filed: 05/20/20 Page: 1 of 2 PAGEID #: 677




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO,
                                EASTERN DIVISION
CHAD THOMPSON, et al,                                   :
                                                        :
                      Plaintiffs,                       : Case No. 2:20-cv-2129
                                                        :
                          v.                            : JUDGE SARGUS
                                                        : MAG. JUDGE VASCURA
GOVERNOR OF OHIO MIKE DEWINE, et al,                    :
                                                        :
                    Defendants.                         :


                           DEFENDANTS’ NOTICE OF APPEAL


       Defendants Governor Richard "Mike" DeWine, Ohio Department of Health Director

Amy Acton, and Ohio Secretary of State Frank LaRose in the above-captioned action hereby

give notice of their appeal to the United States Court of Appeals for the Sixth Circuit from the

Opinion and Order [Doc. 44] entered by the Court on May 19, 2020.

       This appeal is taken under 28 U.S.C. § 1292.

       Respectfully submitted this 20th day of May, 2020.

                                            Respectfully submitted,
                                            DAVE YOST
                                            Ohio Attorney General
                                            /s/ Julie M. Pfeiffer
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                                            Counsel for Defendants
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2020, the foregoing was filed with the Court. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

counsel has entered an appearance. Parties may access this filing through the Court’s system.



                                              /s/ Julie M. Pfeiffer
                                              JULIE M. PFEIFFER (0069762)
                                              Assistant Attorney General
